               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                            Plaintiff,              Case No. 16-CR-87-7-JPS
 v.

 OMAYRA RIVERA,

                            Defendant.                              ORDER


       Defendant Omayra Rivera (“Rivera”) is charged with one count of

conspiracy to possess with intent to distribute and distribute one kilogram

or more of heroin, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and

846, and 18 U.S.C. § 2. (Docket #1). Before the Court is the January 30, 2017

report and recommendation of Magistrate Judge David E. Jones as to

Rivera’s motion to suppress evidence, which he recommends should be

denied. (Docket #254). Rivera filed an objection thereto on February 14,

2017 (Docket #257), the government responded on March 2, 2017 (Docket

#264), and Rivera did not file a reply. The objection is now fully briefed

and, for the reasons stated below, it will be overruled.

       As detailed in the report and recommendation, Rivera seeks to

suppress all the evidence—including narcotics, packaging materials, a

handgun, and other items—and derivative evidence obtained as a result

of the search of her home that underlies the present charges. (Docket #254

at 2). She claims that the affidavit supporting the search warrant did not

set forth sufficient facts to establish probable cause to search the home. Id.

Rivera contends that the facts asserted in that affidavit were “‘vague,

innocuous, and stale’” as to her and her alleged role in the drug trafficking

organization that is the subject of this case. Id. (quoting Docket #244 at 16).

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1.     RELEVANT FACTS AND PROCEDURAL HISTORY

       The relevant facts are drawn from Magistrate Jones’ report and

recommendation, as the parties have not objected to those facts. Evelyn

Lazo (“Lazo”) is a police officer for the City of Milwaukee and was the

affiant for the search warrant application at issue here. Id. at 3. She has

fourteen years of experience as an officer, including a years-long

investigation into    the   activities of   the Rivera     Drug    Trafficking

Organization (“Rivera DTO”). Id. The Rivera DTO operates in Milwaukee

and sells primarily heroin, cocaine, and marijuana. Id. Phone numbers

used by the Rivera DTO have been linked to several heroin overdose

deaths. Id.

       Lazo avers that law enforcement have been investigating the group

since 2011. Id. In her affidavit, she explained in detail several investigative

avenues that supported her belief that Rivera’s home (and others

identified in the affidavit) contained evidence linked to the Rivera DTO.

Id. These included: (1) confidential source information; (2) controlled

purchases of narcotics and consensual phone calls; (3) overdose death

investigations; (4) GPS tracking; (5) court-authorized interceptions; (6)

information pertaining to       specific individuals; and (7) residence

information. Id.

       Lazo touched on Rivera and her activities in only some of these

areas. For instance, the explanation of the heroin overdose investigations

does not mention Rivera, nor does the section on GPS tracking. Id. at 4. Yet

other portions of the affidavit deal with her directly. First, the confidential

sources identified several members of the Rivera DTO and their roles in

the organization. Id. at 3. Five of the six individuals identified Rivera as an

active member of the group. Id. These individuals were interviewed

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between eight and thirty-six months prior to the warrant application. Id. at

8. Second, the informants described in detail several controlled purchases

of drugs, though Rivera’s role in these purchases was only that she

allegedly had another individual selling drugs on her behalf. Id. at 3–4.

Finally, several wiretapped conversations between Rivera and others were

presented. Id. at 4. In one of these calls, which occurred just over a month

prior to the warrant application, Rivera discussed a failed drug sale to an

out-of-town visitor who had wanted to purchase marijuana and a “white

dust” worth $1,500 per ounce. (Docket #250-5 ¶ 145). Finally, Lazo

provided a list of residences sought to be searched, including Rivera’s.

(Docket #254 at 4).

       Based on this affidavit, Magistrate Judge William E. Duffin signed

the application and search warrant on June 13, 2016. Id. As noted above,

law enforcement recovered drugs, drug paraphernalia, a firearm, and

other items from Rivera’s residence. Magistrate Jones denied her motion

to suppress this evidence, noting that although Lazo’s averments as to

Rivera herself were less prominent and recent than those as to other

members of the Rivera DTO, this did not undermine the validity of the

warrant. Id. at 6–9. Further, Magistrate Jones found that even if the

warrant was deemed invalid, the good-faith exception to the exclusionary

rule under United States v. Leon, 468 U.S. 897 (1984), should bar

suppression of the evidence. (Docket #254 at 9–10). Rivera timely objected

to these rulings. (Docket #257).

2.     STANDARD OF REVIEW

       When reviewing a magistrate’s recommendation, this Court is

obliged to analyze the recommendation de novo. 28 U.S.C. § 636(b)(1)(C).



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The Court can “accept, reject, or modify, in whole or in part, the findings

or recommendations made by the magistrate.” Id. The Court’s review

encompasses both the magistrate’s legal analysis and factual findings. Id.

3.     ANALYSIS

       Judges assessing search warrant applications are asked to employ

both discernment and common sense. United States v. Anderson, 450 F.3d

294, 302 (7th Cir. 2006). The judge must be satisfied that probable cause

exists that the place to be searched contains evidence of a crime. United

States v. Jones, 208 F.3d 603, 608 (7th Cir. 2000). Yet “direct evidence

linking a crime to a particular place, while certainly helpful, is not

essential to establish probable cause to search that place.” United States v.

Aljabari, 626 F.3d 940, 944 (7th Cir. 2010). Instead, the judge must look at

the totality of the circumstances presented, including the nature of the

evidence sought and the crime alleged, to determine if “there is a fair

probability that contraband or evidence of a crime will be found in a

particular place.” Illinois v. Gates, 462 U.S. 213, 218 (1983). Scrutinizing

every detail for possible defects is neither required nor appropriate, since

probable cause is a “fluid concept” embracing “the assessment of

probabilities in particular factual contexts,” not legal certainties. Id. at 232;

Anderson, 450 F.3d at 302 (“The probable cause inquiry is practical, not

technical.”). Moreover, on later review, the issuing judge’s finding of the

existence of probable cause is entitled to deference and should not be

gainsaid “if there is substantial evidence in the record that supports his

decision.” United States v. Sutton, 742 F.3d 770, 773 (7th Cir. 2014); Gates,

462 U.S. at 238–39.

       Rivera’s position is that the evidence before Magistrate Duffin was



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too old and too attenuated in its connection to her to establish probable

cause to search her residence. See (Docket #257). The Court disagrees.

There was evidence that Rivera was a suspected drug dealer, which was

shown by, for example, an intercepted call just over one month before the

warrant application in which Rivera speaks of selling narcotics to an out-

of-town visitor. See (Docket #244 at 15). Numerous confidential informants

corroborated the notion that Rivera was a member of the Rivera DTO and

had been selling drugs as part of the group for a long time. Id. at 5–10.

That the informants did not themselves possess some corroborating

evidence for their statements does not make their statements inherently

unreliable.

       Furthermore, Lazo believed, based on her long experience in

narcotics investigations, that evidence would likely be located in Rivera’s

residence. Officers are permitted to draw reasonable inferences from the

facts presented; one of the most common inferences, and one which is

eminently reasonable, is that drug dealers keep their wares at home.

Aljabari, 626 F.3d at 944 (“Simple common sense supports the inference

that one likely place to find evidence of a crime is the suspect’s home, at

least absent any information indicating to the contrary.”); United States v.

Orozco, 576 F.3d 745, 749 (7th Cir. 2009). Lazo arrived at that conclusion

here, and Rivera offers no viable basis on which to question it. See (Docket

#248 at 3–4).

       Instead, she asks the Court to consider her own innocuous

explanations for the evidence, to the exclusion of other reasonable

conclusions that might be drawn. See (Docket #244). The possibility of an

innocent explanation is just that—a possibility, and one the issuing judge



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must consider with the rest of the circumstances presented in a particular

application. United States v. Funches, 327 F.3d 582, 587 (7th Cir. 2003).

Viewing the affidavit as a whole, this Court cannot say that Magistrate

Duffin lacked a reasonable basis to conclude that probable cause existed,

notwithstanding Rivera’s protestations that each piece of evidence,

viewed in an isolated fashion, might be explained away.

      Rivera compares her case to Orozco in an effort to show that her

involvement in the Rivera DTO was minimal. See (Docket #257 at 3–4).

Unlike that case, where gang members averred that the defendant, the

gang’s second-in-command, sold large quantities of drugs, Orozco, 576

F.3d at 747–48, here Rivera claims there is no indication that she was a

prominent member of the drug trafficking organization in the recent past,

(Docket #257 at 4). While Rivera may not have been one of the Rivera

DTO’s leaders, confidential informants indicated that Rivera sold them

drugs or sold drugs to others. Her involvement in drug sales was

confirmed in intercepted telephone calls. These facts are sufficient to

support probable cause even if Rivera’s role in the trafficking was less

than that of the defendant in Orozco.

      Likewise, although Rivera believes that the information about her

was stale, the age of Lazo’s information was merely one facet of the

application Magistrate Duffin had to consider. United States v. Pappas, 592

F.3d 799, 803 (7th Cir. 2010). Rivera emphasizes that none of the

allegations of drug dealing by the confidential informants were less than

several months old at the time of the search warrant application. (Docket

#251 at 3). She also points out that the most recent intercepted call was

over half a month old by that time. (Docket #244 at 16). What the evidence



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showed, however, was that Rivera had a history of involvement in the

Rivera DTO, had sold narcotics through another individual, and had

discussed a drug sale about one month prior to the application. From this

vantage point, the Court does not find any reason to overturn Magistrate

Duffin’s decision that the balance of the warrant application compensated

for any potential deficiency in the timeliness of the evidence.

       Also as to the staleness issue, Rivera objects to Magistrate Jones’

reliance on several child pornography cases involving search warrants for

computer files. (Docket #257 at 1–2). She argues that staleness of

information is more relevant to the probable cause inquiry in a narcotics

case, where evidence is easily moved and destroyed, than in a child

pornography case. Id. Even assuming this is true, Rivera’s objection is

misguided. Magistrate Jones cited these cases merely for the general

proposition that “recency of information provided to the issuing judge is

one factor bearing on the question of probable cause.” (Docket #254 at 8).

Rivera does not challenge the real point here—that staleness of

information is only one element the issuing judge had to contend with.

Thus, the Court concludes, as Magistrate Jones did, that there was

substantial evidence from which Magistrate Duffin could conclude that

probable cause existed to search Rivera’s home.

       Furthermore, even if the Court found the affidavit lacking in detail

sufficient to support probable cause, suppression would not be the answer

in this case. Under Leon, the Court can exclude the fruits of a search based

on an invalid warrant only if the officer did not act in good faith in relying

on the invalid warrant. Leon, 468 U.S. at 926. An officer’s decision to seek a

warrant in the first place in prima facie evidence that she acted in good



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faith. United States v. Mykytiuk, 402 F.3d 773, 777 (7th Cir. 2005). Moreover,

after the judge signs the warrant, the officer will lack good faith in

executing it only if a reasonably well-trained officer would have known

the search was illegal despite the judicial authorization. Leon, 468 U.S. at

922 n.23.

       To rebut the evidence of good faith—here shown by Lazo’s

decision to seek a warrant and Magistrate Duffin’s decision to sign the

proposed warrant—Rivera was required to show that: (1) Magistrate

Duffin abandoned his role as a neutral and detached arbiter; (2) Lazo was

reckless or dishonest in preparing the supporting affidavit; or (3) Lazo’s

affidavit was so lacking in probable cause that no officer could have

reasonably relied on it. Id. at 923. This she has not done. She has not

impugned either Magistrate Duffin or Lazo. At best, she seems to claim

that the warrant application was so deficient that law enforcement could

not have reasonably relied on it, but as shown above, Lazo’s affidavit

contained sufficient information for Magistrate Duffin, and by extension

the executing officers, to conclude that probable cause for the search

existed. At a minimum, the affidavit was “facially sufficient.” United States

v. Caffie, 310 F. App’x 24, 26 (7th Cir. 2009). Thus, suppression would not

be appropriate in this case in any event.

       Accordingly,

       IT IS ORDERED that Defendant Omayra Rivera’s objection to

Magistrate Judge David E. Jones’ Report and Recommendation (Docket

#257) be and the same is hereby OVERRULED;

       IT IS FURTHER ORDERED that Magistrate Judge David E. Jones’

Report and Recommendation (Docket #254) be and the same is hereby



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ADOPTED; and

      IT IS FURTHER ORDERED that Defendant Omayra Rivera’s

motion to suppress (Docket #244) be and the same is hereby DENIED.

      Dated at Milwaukee, Wisconsin, this 16th day of March, 2017.

                                BY THE COURT:




                                J.P. Stadtmueller
                                U.S. District Judge




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